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Su-Raj Diamonds & Jewelry USA, Inc.

                           IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF UTAH CENTRAL DIVISION


SU-RAJ DIAMONDS & JEWELRY USA,
INC., a New York corporation,                          COMPLAINT

                           Plaintiff,
                                                       Civil Action No. 2:13-cv-01047-CW
                   v.

NOVATEK, INC., a Utah corporation,                     The Honorable Clark Waddoups

                           Defendants.


         Plaintiff Su-Raj Diamonds & Jewelry USA, Inc. (“Su-Raj”) hereby complains against

Novatek, Inc. (“Novatek”) and for its causes of action allege as follows:

                                         NATURE OF ACTION

        1.         This action arises from Novatek’s refusal to comply with its contractual

obligations. Specifically, on or about May 29, 2008, Su-Raj entered into an Equipment Purchase

Agreement (the “Purchase Agreement”) with Novatek. A copy of the Purchase Agreement is

incorporated herein and attached hereto as Exhibit A. Pursuant to the terms of the Purchase



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Agreement, Novatek agreed to sell a “a new generation Novatek HPHT Press System [including]

Seller’s proprietary six axis press, press stand, computerized electronic control system, hydraulic

power pock and chiller,” and all updates and technical improvements developed prior to delivery

(the “System”) for a purchase price of $2.9 million. See Purchase Agreement at ¶ 1-2.

Additionally, in the Purchase Agreement, Su-Raj was given the option to purchase two more

Systems for a purchase price of $4.85 million. See id. at ¶ 4.

        2.         In return, pursuant to the Purchase Agreement, Su-Raj made a downpayment of

$100,000 in June 2008, and an additional payment of $1.4 million in August 2008. Subsequently,

in 2009, there was an agreement between Su-Raj and Novatek to delay the purchase of the initial

System. In July of 2011, Su-Raj and Novatek agreed to go forward with the sale of the initial

System and Su-Raj informed Novatek that it wanted to purchase two more systems. Around that

time, Su-Raj made an additional payment of $1.4 million towards purchase of the first System.

        3.         Novatek has not delivered the System as required by the Purchase Agreement.

        4.         Instead, Novatek has repeatedly sought to change the terms of the parties’ written

agreement. Among other things, even though the Purchase Agreement clearly anticipated and

allowed Su-Raj to export the Systems it purchased to a foreign country, Novatek unilaterally

refused to allow Su-Raj to do so. Indeed, despite having accepted the purchase amount, Novatek

subsequently refused to even sell the System to Su-Raj, instead demanding that Su-Raj enter into

a long-term services contract with Novatek, whereby Su-Raj (and subsequently Su-Raj’s

subcontractor, Nozomi Technology, Inc, (“Nozomi”)) would pay to use Novatek’s systems and

also pay for Novatek services on Novatek property. Moreover, Novatek has refused to provide




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(a) the maintenance training for Su-Raj and its subcontractor’s employees; and (b) the training

materials as required by the Purchase Agreement.

        5.         Novatek’s actions constitute a material breach of the Purchase Agreement and

have cause Su-Raj serious damages in an amount to be determined at trial, but not less than $2.9

million.

                              PARTIES, JURISDICTION AND VENUE

        6.         Su-Raj is a corporation organized and existing under the laws of the State of New

York, with its principal place of business at 36 West 44th Street, Suite 1020, New York, New

York 10036.

        7.         On information and belief, Novatek is a corporation organized and existing under

the laws of the State of Utah, with its principal place of business at 2185 South Larsen Parkway,

Provo, Utah 84606.

        8.         This Court has jurisdiction over this action pursuant to 28 U.S.C. §1332(a)(1)

because there is complete diversity between Su-Raj and Novatek and the amount in controversy

exceeds $75,000 exclusive of interest and costs.

        9.         This Court has personal jurisdiction over Novatek because: (a) Novatek is

incorporated in and maintains its principal place of business within the state of Utah; (b) Novatek

has had continuous and systematic contacts with the state of Utah; and (c) Novatek has specific

contacts with Utah sufficiently related to this cause of action to warrant the exercise of personal

jurisdiction by this Court.




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        10.        Venue is proper in this district pursuant to 28 U.S.C. § 1391(a)(1) and (2) because

Novatek resides in Utah and a substantial part of the events giving rise to the claims occurred in

this forum.

                                     FACTUAL BACKGROUND

The Parties’ Business Operations

        11.        During all relevant times, Su-Raj was a leading provider of wholesale diamonds.

        12.        On information and belief, Novatek, among other things, is in the business of

designing, manufacturing and selling equipment useful in improving and affecting the color of

diamonds.

The Parties Execute the Equipment Purchase Agreement.

        13.        On or about May 29, 2008, Su-Raj and Novatek entered into the Purchase

Agreement.

        14.        Pursuant to the terms of the Purchase Agreement, Su-Raj agreed to purchase and

Novatek agreed to sell to Su-Raj the System, which was defined as including “a new generation

Novatek HPHT Press System which will include Seller’s proprietary six axis press, press stand,

computerized electronic control system, hydraulic power pock and chiller.” See Purchase

Agreement at ¶ 1.

        15.        With the System, Novatek also agreed to provide (a) all updates and

improvements to the System that were developed by Novatek prior to delivery of the System to

Su-Raj; and (b) “manuals applicable to the System regarding installation, testing, operation and

maintenance as [Novatek] has developed or will have developed within five years.” Id.




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         16.        To facilitate Su-Raj’s use of the System, in the Purchase Agreement, Novatek

agreed to provide training to Su-Raj on the operation and maintenance of the System for a period

of five (5) years. See id. at ¶ 9.a. With respect to that training, the parties agreed that it would

occur at Novatek’s facilities in Utah, would be provided at a set price and that Su-Raj would be

able to determine the amount of training in its discretion. Id.

         17.        In return for the System, Su-Raj agreed to pay Novatek $2.9 million. Id. at ¶ 2.

Payment of the purchase price was to be made by Su-Raj paying a deposit of $1.5 million, with

$100,000 paid on execution of the Purchase Agreement, $400,000 paid thirty (30) days after

execution of the Purchase Agreement and $1 million within sixty (60) days after execution of the

Agreement. Id. The remaining $1.4 million was to be paid when the System was operational and

performing according to the specifications set forth in the Purchase Agreement. See id.

         18.        Importantly, both Novatek and Su-Raj understood that Su-Raj intended to

transport the System to another country, to be determined by Su-Raj in its discretion. Indeed, the

Purchase Agreement specifically anticipated that the System would be shipped to and installed in

a facility in a country to be determined by Su-Raj. In fact, the Purchase Agreement provides that

“‘Foreign Operational Date’ shall mean the first to occur of (i) 100 successful runs decolorizing

diamonds in the country to which [Su-Raj] ships the System for installation or (ii) one week of

successful decolorizing of diamonds in such country, but not to exceed 120 days after Operational

Date.” Id. at ¶ 2.




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Novatek Grants Su-Raj the Option to Purchase Two More Systems.

         19.        In the Purchase Agreement, Novatek also granted Su-Raj an option to purchase

two more Systems, including all subsequent improvements and developments, for a purchase

price of $4.8 million. Id. at ¶ 5.

         20.        Su-Raj was able to exercise the option for up to 30 days after the Foreign

Operational Date, as defined in the Purchase Agreement.

Novatek Agrees to Provide Services Pending Delivery of the System

         21.        Pending final delivery of the System, in the Purchase Agreement, Novatek agreed

to provide certain services to Su-Raj and to allow Su-Raj to use certain Novatek equipment

(including Novatek’s facilities and related computer work stations) on specific terms set forth

therein.

Termination Provisions

         22.        The Purchase Agreement gave Su-Raj the right to terminate the Purchase

Agreement if, among other things, the first System ordered is not operational within 18 months

after the date of this Agreement. Id. at ¶ 7.

         23.        The parties specifically agreed that if Su-Raj terminated the Purchase Agreement,

Novatek would “promptly return to [Su-Raj] any and all deposits” paid to Novatek. Id.

Su-Raj Pays the Deposit and Other Amounts Required to Purchase the System.

         24.        Pursuant to the terms of the Purchase Agreement, Su-Raj paid the $1.5 million

deposit amount for purchase of the System.




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        25.        Thereafter, based on Novatek’s agreement to provide a newer, high pressure

machine within a 4-6 month period, in or about July 2011, Su-Raj paid the remaining amount of

the purchase price of $1.4 million to Novatek.

Novatek Breaches the Purchase Agreement.

        26.        While Su-Raj has paid the full amount of the purchase price, Novatek has failed

to deliver the System as required by the Purchase Agreement.

        27.        Instead, Novatek has sought to unilaterally change the terms of the parties’

written agreement. Specifically, although the Purchase Agreement allowed Su-Raj to export the

purchased System to another country, Novatek refused to provide the System unless Su-Raj

agreed to lease space from Novatek and keep the System at Novatek’s facilities.

        28.        Additionally, Novatek refused to provide the maintenance training and operation

manuals to Su-Raj as required by the express terms of the Purchase Agreement. Indeed, the

individual nominated by Su-Raj to receive such training was forced to leave Novatek’s premises

after a few days and told not to return.

        29.        Thereafter, while ostensibly agreeing to provide the System, Novatek sought to

extort a greater purchase price. Indeed, despite the fact that Su-Raj had already paid the purchase

price and that the purchase price for the System included all improvements and upgrades to the

System until it was delivered (see Purchase Agreement at ¶ 1), Novatek demanded that Su-Raj

pay hundreds of thousands of dollars more for each of the Systems, including each of the two

Systems Su-Raj had the option to purchase.

        30.        Beyond that, Novatek later sought to change even those terms demanding that,

instead of purchasing a System, Su-Raj enter into a services contract with and pay Novatek to



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provide systems, at the Novaek site, for the use of Su-Raj. However, even there, Novatek

continued to change the amounts it charged, the terms on which it would provide services to Su-

Raj and the terms on which it would allow Su-Raj to use the systems at Novatek’s facilities.

Su-Raj Seeks to Exercise its Option to Purchase the Two Additional Systems.

        31.        In or about February 2012, representatives of Su-Raj met with representatives of

Novatek and informed Novatek that it intended to exercise the option in the Purchase Agreement

to purchase the additional two (2) Systems.

        32.        In response, however, Novatek refused to sell the additional Systems, again

demanding that Su-Raj enter into a services contract with and pay Novatek to provide systems, at

Novatek’s site, for use by Su-Raj.

        33.        Thereafter, when Su-Raj refused to pay the exorbitant prices being charged by

Novatek for its services and use of the systems, Novatek threatened to discontinue all services to

Su-Raj. Novatek also threatened that it would no longer allow Su-Raj to use any of the systems at

Novatek’s facilities, even though Su-Raj had paid the entire purchase price for one of the systems.

        34.        Most recently, Novatek has refused to provide the Systems on the terms and

conditions set forth in the Purchase Agreement, has refused to provide services or allow Su-Raj to

use Novatek’s facilities as required under the Purchase Agreement, has refused to provide the

manuals to Su-Raj as required by the Purchase Agreement and has refused to provide training on

maintenance of the Systems as required by the Purchase Agreement.

Novatek’s Actions have Caused Su-Raj Serious Damages.

        35.        Novatek’s actions as described herein constitute a material breach of the Purchase

Agreement.



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        36.        As a direct and proximate result of Novatek’s breach of the Purchase Agreement,

Su-Raj has suffered and continues to suffer damages in an amount to be proven at trial, but not

less than $2.9 million.

        37.        In addition to recovering damages for Novatek’s breach, the Purchase Agreement

provides that because the System is unique, Su-Raj “may invoke any equitable remedy to enforce

performance hereunder, including, without limitation, the remedy of specific performance.” See

Purchase Agreement at ¶ 13.a.

                                    FIRST CLAIM FOR RELIEF
                                        (Breach of Contract)

        38.        Su-Raj hereby incorporates by reference the allegations set forth in paragraphs 1

through 37 above as though fully set forth herein.

        39.        As set forth above, on or about May 29, 2008, Novatek and Su-Raj entered into

the Purchase Agreement.

        40.        The Purchase Agreement is a valid and binding agreement.

        41.        As set forth in greater detail above, in the Purchase Agreement, Novatek agreed to

(a) sell the System, including all improvements and upgrades, to Su-Raj for a purchase price of

$2.9 million; (b) provide maintenance training and training materials regarding operation and

maintenance of the Systems to Su-Raj; (c) allow Su-Raj to purchase two additional Systems for a

purchase price of $4.85 million; and (d) allow Su-Raj to use Novatek’s equipment for a

predetermined price.

        42.        As set forth in greater detail above, Novatek has breached the Purchase

Agreement by, among other things, failing and/or refusing to (a) sell the System, including all

improvements and upgrades, to Su-Raj for a purchase price of $2.9 million; (b) provide


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maintenance training and training materials regarding operation and maintenance of the Systems

to Su-Raj; (c) allow Su-Raj to purchase two additional Systems for a purchase price of $4.85

million; and (d) allow Su-Raj to use Novatek’s equipment for a predetermined price.

        43.        Su-Raj has fully performed its obligations under the Purchase Agreement.

        44.        As a direct and proximate result of Novatek’s breach of the Purchase Agreement,

Su-Raj has suffered and continues to suffer damages in an exact amount to be proven at trial, but

not less than $2.9 million.

                                  SECOND CAUSE OF ACTION
                     Breach of Implied Covenant of Good Faith and Fair Dealing

        45.        Su-Raj hereby incorporates by reference the allegations set forth in paragraphs 1

through 44 above as though fully set forth herein.

        46.        As set forth above, on or about May 29, 2008, Novatek and Su-Raj entered into

the Purchase Agreement.

        47.        The Purchase Agreement is a valid and binding agreement.

        48.        Pursuant to applicable law, there is a covenant of good faith and fair dealing

implied in the Purchase Agreement, whereby Novatek pledged that it would not do anything that

would have the effect of destroying or injuring Su-Raj’s right to receive the benefits of the

Purchase Agreement.

        49.        As set forth in greater detail above, Novatek has breached the implied covenant of

good faith and fair dealing in the Purchase Agreement by, among other things, failing and/or

refusing to (a) sell the System, including all improvements and upgrades, to Su-Raj for a purchase

price of $2.9 million; (b) provide maintenance training and training materials regarding operation

and maintenance of the Systems to Su-Raj; (c) allow Su-Raj to purchase two additional Systems


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for a purchase price of $4.85 million; and (d) allow Su-Raj to use Novatek’s equipment for a

predetermined price.

        50.        Su-Raj has fully performed its obligations under the Purchase Agreement.

        51.        As a direct and proximate result of Novatek’s breach of the implied covenant of

good faith and fair dealing in the Purchase Agreement, Su-Raj has suffered and continues to

suffer damages in an exact amount to be proven at trial, but not less than $2.9 million.

                                    THIRD CAUSE OF ACTION
                                        Unjust Enrichment

        52.        Su-Raj hereby incorporates by reference the allegations set forth in paragraphs 1

through 51 above as though fully set forth herein.

        53.        As set forth above, based on Novatek’s agreement to perform its obligations

under the Purchase Agreement, Su-Raj agreed to pay Novatek $2.9 million and agreed to perform

its other obligations under the Purchase Agreement.

        54.        Novatek received the $2.9 million purchase price and other amounts paid by Su-

Raj and benefitted from receiving those amounts.

        55.        It would be inequitable for Novatek to retain the amounts paid because Novatek

has failed and/or refused to (a) sell the System, including all improvements and upgrades, to Su-

Raj for a purchase price of $2.9 million; (b) provide maintenance training and training materials

regarding operation and maintenance of the Systems to Su-Raj; (c) allow Su-Raj to purchase two

additional Systems for a purchase price of $4.85 million; and (d) allow Su-Raj to use Novatek's

equipment for a predetermined price.




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        56.         As a result, Novatek has been unjustly enriched and Su-Raj has suffered and

continues to suffer damages in an exact amount to be proven at trial, but not less than $2.9

million.

                                        PRAYER FOR RELIEF

                WHEREFORE, Su-Raj respectfully prays that this Court enter judgment against the

Novatek as follows:

           A.       On the First Cause of Action:

                    1.     For general compensatory and consequential damages in an amount to be

                           proven at trial but not less than $2.9 million; and

                    2.     For pre and post-judgment interest as allowed by applicable law.

           B.       On the Second Cause of Action:

                    1.     For general compensatory and consequential damages in an amount to be

                           proven at trial but not less than $2.9 million; and

                    2.     For pre and post-judgment interest as allowed by applicable law.

           C.       On the Third Cause of Action:

                    1.     For general compensatory and consequential damages in an amount to be

                           proven at trial but not less than $2.9 million; and

                    2.     For pre and post-judgment interest as allowed by applicable law.

           D.       On All Causes of Action:

                    1.     For costs and attorneys’ fees to the fullest extent allowed by law; and

                    2.     For such other and further relief as the relief as the Court deems just and

                           proper.



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         Dated: November 25, 2013
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